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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF VIRGINIA
                             CHARLOTTESVILLE DIVISION


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BABY DOE, A CITIZEN OF AFGHANISTAN     :
CURRENTLY RESIDING IN NORTH            :
CAROLINA, BY AND THROUGH NEXT          :                    CIVIL ACTION NO. 3:22-CV-49
FRIENDS, JOHN AND JANE DOE;AND JOHN :
AND JANE DOE, CITIZENS OF AFGHANISTAN :
AND LEGAL GUARDIANS OF BABY DOE,       :
                                       :
     Plaintiffs,                       :
                                       :
v.                                     :
                                       :
JOSHUA MAST, STEPHANIE MAST, RICHARD :
MAST, KIMBERLEY MOTLEY, AND AHMAD :
OSMANI,                                :
                                       :
     Defendants,                    :
                                     :
and                                  :
                                     :
UNITED STATES SECRETARY OF STATE    :
ANTONY BLINKEN AND UNITED STATES     :
SECRETARY OF DEFENSE GENERAL         :
LLOYD AUSTIN,                       :
                                    :
     Nominal Defendants.            :

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                                     PROTECTIVE ORDER

       This matter is before the Court on Plaintiffs’ Motion to Proceed by Pseudonym, in which

it requests the entry of a protective order governing disclosure of the Plaintiffs’ identities and

identifying information. Dkt. 3. For the reasons set forth in Plaintiffs’ brief in support of their

motion, Dkt. 4, as well as incorporated in this Court’s order (Dkt. 16), granting Plaintiffs’

accompanying motion to seal, the Court finds that Plaintiffs have established grounds to proceed

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by pseudonym and for entry of the following terms of a protective order. See James v. Jacobson,

6 F.3d 233, 238 (4th Cir. 1993); see also United States v. Doe, 962 F.3d 139, 147 (4th Cir. 2020).

Because the Court finds that Plaintiffs have demonstrated that disclosure of Plaintiffs’ identities

and identifying information would pose a substantial risk to the physical safety of Plaintiffs and

other innocent non-parties, in view of the age of minor Plaintiff Baby Doe, and concluding that

any risk of prejudice or unfairness (if any should exist), is more than sufficiently mitigated by the

measured steps requested by Plaintiffs’ counsel below which are tailored to protect such safety

interests, in order to ensure Plaintiffs’ safety and the safety of other innocent non-parties, this

Court ORDERS as follows:

       1.      The Defendants and their counsel and representatives are prohibited from

disclosing any information that directly or indirectly identifies Plaintiffs or their family members

to any person, including but not limited to the Plaintiffs’ names and the locations of their

residences abroad and places of birth, unless that person first executes a non-disclosure

agreement enforceable through the contempt sanction. This applies to any disclosure in the

course of any investigation undertaken by the Defendants, their counsel, or their other agents or

representatives.

       2.      All papers filed with this Court or disseminated to any person who has not

executed a non-disclosure agreement enforceable through the contempt sanction shall use the

“John Doe”, “Jane Doe”, or “Baby Doe” pseudonyms to refer to the Plaintiffs.

       3.      Any papers that identify any Plaintiff either directly or indirectly shall be filed

under seal, with redacted copies placed in the public files.




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       4.      Defendants shall disclose to Plaintiffs’ counsel any person to whom Defendants,

their counsel or representatives, have disclosed Plaintiffs’ identities, and shall provide Plaintiffs

with copies of the executed non-disclosure agreements required by this Order.

       5.      The parties shall be permitted to notice depositions and depose witnesses and

conduct other discovery using the “John Doe”, “Jane Doe”, and “Baby Doe” pseudonyms. In

deposing any witnesses who are unacquainted with the Plaintiffs, the Doe pseudonyms shall be

used. In deposing any witnesses already acquainted with the Plaintiffs, actual names may be

used, but the Doe pseudonyms must be used in any transcript of those depositions.

       Accordingly, Plaintiffs’ motion for leave to proceed under a pseudonym and for entry of

the protective order will be and hereby is GRANTED. Dkt. 3.

       It is so ORDERED.

       The Clerk of Court shall send a certified copy of this Order to all counsel of record.

Plaintiffs shall be responsible for providing a copy of this Order to Defendants forthwith, who

have not yet entered an appearance in the case.




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